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            1   Tina Wolfson (SBN 174806)
                twolfson@ahdootwolfson.com
            2   Robert Ahdoot (SBN 172098)
                rahdoot@ahdootwolfson.com
            3   Theodore W. Maya (SBN 223242)
                tmaya@ahdootwolfson.com
            4   Bradley K. King (SBN 274399)
                bking@ahdootwolfson.com
            5   AHDOOT & WOLFSON, P.C.
                1016 Palm Avenue
            6   West Hollywood, California 90069
                Tel: (310) 474-9111
            7   Fax: (310) 474-8585                                 Shannon L. Hopkins (pro hac vice)
                                                                    shopkins@zlk.com
            8   Michael A. Galpern (pro hac vice)                   Shane Rowley (pro hac vice)
                mgalpern@lockslaw.com                               srowley@zlk.com
            9   Andrew P. Bell (pro hac vice)                       Nancy Kulesa (pro hac vice)
                abell@lockslaw.com                                  nkulesa@zlk.com
           10   James A. Barry (pro hac vice)                       Andrea Clisura (pro hac vice)
                jbarry@lockslaw.com                                 aclisura@zlk.com
           11   LOCKS LAW FIRM, LLC                                 LEVI & KORSINSKY, LLP
                801 North Kings Highway                             30 Broad Street, 24th Floor
           12   Cherry Hill, New Jersey 08034                       New York, New York 10004
                Tel: (856) 663-8200; Fax: (856) 661-8400            Tel: (232) 363-7500; Fax: (866) 367-6510
           13
                Attorneys for Plaintiff Jonathan Koles              Attorneys for Plaintiff Christopher Bonnema
           14
                                              UNITED STATES DISTRICT COURT
           15
                                          NORTHERN DISTRICT OF CALIFORNIA
           16
                JONATHAN KOLES, individually, and on behalf       Case No.: 4:15-cv-04429-JSW
           17   of all others similarly-situated,
                                                                  PLAINTIFFS’ MOTION TO
           18          Plaintiff,                                 CONSOLIDATE AND APPOINT INTERIM
                vs.                                               LEAD CLASS COUNSEL AND
           19                                                     PLAINTIFFS’ EXECUTIVE COMMITTEE
                YAPSTONE, INC., a Delaware corporation,
           20                                                     Date: February 5, 2016 (pending Stipulation
                       Defendant.                                 to advance hearing to January 15, 2016)
           21                                                     Time: 9:00 a.m.
                                                                  Ctrm: 5, 2nd Floor
           22                                                     Before: Hon. Jeffrey S. White
                CHRISTOPHER BONNEMA, individually, and
           23   on behalf of all others similarly-situated,       Case No.: 4:15-cv-05023-JSW
           24          Plaintiff,
                vs.
           25
                YAPSTONE, INC. d/b/a
           26   VACATIONRENTPAYMENT,
           27          Defendant.
           28
                                                              i
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            1                                           NOTICE OF MOTION

            2          TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

            3          PLEASE TAKE NOTICE that, on February 5, 2016 (pending the parties’ stipulated request to

            4   advance the hearing to January 15, 2016), at 9:00 a.m., or at such other date and time as the Court may

            5   provide, Plaintiffs Jonathan Koles and Christopher Bonnema will and hereby do move the Court for an

            6   Order granting the following relief:

            7   (1)    Consolidating, for all purposes, the following two related class actions currently pending before

            8          this Court (the “Actions”):
            9          (a)     Koles v. YapStone, Inc., Case No. 4:15-cv-04429-JSW (filed September 25, 2015); and
           10          (b)     Bonnema v. YapStone, Inc., Case No. 4:15-cv-05023-JSW (filed November 2, 2015).
           11   (2)    Appointing the law firm of Ahdoot & Wolfson, PC (“AW”) as interim lead class counsel
           12          pursuant to Federal Rule of Civil Procedure 23(g)(3);
           13   (3)    Appoint the law firms of Locks Law Firm, LLC (“LLF”) and Levi & Korsinsky, LLP (“LK”),
           14          along with AW, to Plaintiffs’ Executive Committee; and
           15   (4)    Ordering that interim lead class counsel jointly file a master consolidated complaint, captioned
           16          In Re YapStone Data Breach, Case No. 4:15-cv-04429-JSW, which will serve as the operative
           17          complaint for the consolidated action.
           18          Plaintiffs’ counsel met and conferred with Defendant’s counsel regarding the filing of this

           19   Motion and Defendant will not oppose consolidation of the Actions. (See Declaration of Tina Wolfson

           20   (“Wolfson Decl.”) ¶ 8.) Plaintiffs have indicated to Defendant their intent to present and seek leave to

           21   file a consolidated complaint in the event consolidation is granted. (Id.)

           22          This Motion is made pursuant to Federal Rules of Civil Procedure 42 and 23(g), and is based

           23   upon this Notice; the concurrently filed Memorandum of Points and Authorities; the concurrently filed

           24   Declarations in support thereof; and such evidence and argument as the Court may consider

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            1   appropriate or as may be presented at or before any hearing on this motion.

            2

            3   Dated: December 29, 2015                     Respectfully submitted,
            4                                                AHDOOT & WOLFSON, PC
            5

            6                                                __/s/ Tina Wolfson______________
                                                             Tina Wolfson
            7                                                Robert Ahdoot
                                                             Theodore W. Maya
            8                                                Bradley K. King
            9
                                                             LOCKS LAW FIRM, LLC
           10

           11

           12                                                __/s/ Michael A. Galpern______________
                                                             Michael A. Galpern
           13                                                Andrew P. Bell
                                                             James A. Barry
           14
                                                             Attorneys for Plaintiff Jonathan Koles
           15

           16                                                LEVI & KORSINSKY, LLP

           17

           18                                                __/s/ Nancy Kulesa______________
                                                             Shannon L. Hopkins
           19                                                Shane Rowley
                                                             Nancy Kulesa
           20                                                Andrea Clisura
           21                                                Attorneys for Plaintiff Christopher Bonnema
           22

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            1                           MEMORANDUM OF POINTS AND AUTHORITIES

            2                                            I.     INTRODUCTION

            3           These two class actions, both originally filed in this District assert claims arising out of the data

            4   breach announced by Defendant YapStone, Inc. (“Defendant”) in September of 2015, in which

            5   customers’ personal identifying information and bank account information was exposed to access by

            6   unauthorized persons between approximately July 2014 and August 2015 by virtue of an unsecured

            7   YapStone URL. Both complaints assert claims for negligence, breach of implied contract, unjust

            8   enrichment, violations of the California Unfair Competition Law, Cal. Bus. & Prof. Code §17200, et
            9   seq., and violation of the California Data Breach Law, Cal. Civ. Code §1798.80, et seq., against
           10   Defendant. Both cases involve the same or very similar facts and claims, seek nationwide certification,
           11   and name the same Defendant.
           12           Koles v. YapStone, Inc., No. 3:15-cv-04429-JSW, was filed on September 25, 2015, and an
           13   initial case management conference has been set for January 15, 2016. Bonnema v. YapStone, Inc.,
           14   No. 4:15-cv-05023-JSW was filed on November 2, 2015, and an initial case management conference
           15   also has been set for January 15, 2016.
           16           Given the fact that the Koles and Bonnema actions have common questions of law and fact and
           17   allege the same or similar claims on behalf of the same putative classes, it is appropriate for the Court
           18   to consolidate the Actions under Rule 42, and appoint interim lead counsel so that the cases may be

           19   litigated effectively and efficiently.

           20           Plaintiffs Jonathan Koles & Christopher Bonnema (“Plaintiffs”) propose that the Court appoint

           21   Ahdoot & Wolfson, PC (“AW”) as interim lead class counsel under Federal Rule of Civil Procedure

           22   23(g)(3), and, along with AW, appoint Locks Law Firm (“LLF”) and Levi & Korsinsky, LLP (“LK”)

           23   to Plaintiffs’ Executive Committee. Along with LK’s local counsel, Del Mar Law Group, LLP, these

           24   firms represent a consensus among Plaintiffs to collaborate. These firms have been able to work

           25   together successfully and seek to pursue a coherent strategy that will best represent the interests of the

           26   putative classes Plaintiffs seek to represent. These firms specialize and have extensive experience in

           27   complex class action litigation, including the types of claims at issue in this matter. Moreover, the

           28   firms, individually, have the resources to prosecute this action and have agreed to collectively commit
                                                                    1
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            1   sufficient resources to this litigation. The lawyers in these firms have confidence in and respect for

            2   each other and the complementary strengths that each brings to the joint representation. They will

            3   work together to bring this litigation to a successful resolution.

            4                   II.      FACTUAL AND PROCEDURAL BACKGROUND

            5          Plaintiff Koles is a citizen of New Jersey who listed a property in Wildwood Crest, New Jersey

            6   for rent on the website www.vrbo.com, through which individuals could rent the property and pay

            7   Koles for rentals. Unbeknownst to Koles at the time, his personal identifying information related to

            8   rentals of his property was passed to Defendant which processed payments for said rentals. By letter
            9   dated September 11, 2015, Koles was alerted to the fact that Defendant had subjected his personal
           10   identifying information and bank account information to unauthorized access through an unsecured
           11   YapStone URL between July 15, 2014 and August 5, 2014. (Koles Compl. ¶¶ 3-16.) Koles named
           12   YapStone, Inc. as Defendant, asserting claims for negligence, breach of implied contract, unjust
           13   enrichment, violation of the California Unfair Competition Law (“CUCL”), Cal. Bus. & Prof. Code
           14   §17200, et seq., violation of the New Jersey Consumer Fraud Act (“NJCFA”), N.J.S.A. 56:8-1, et seq.,
           15   violation of the New Jersey Data Breach Act (“NJDBA”), N.J.S.A. 56:8-163, et seq., and violation of
           16   the California Data Breach Law (“CDBL”), Cal. Civ. Code §1798.80, et seq. (Koles Compl. ¶¶ 37-
           17   104.) Plaintiff Koles seeks certification of a nationwide class and a New Jersey subclass. (Koles
           18   Compl. ¶¶ 28-29). An initial case management conference has been scheduled in Koles for January

           19   15, 2016. Defendant’s answer or responsive pleading is currently due, by stipulation and order,

           20   January 18, 2016.

           21          Plaintiff Bonnema, a citizen of California, filed a complaint on November 2, 2015 alleging that

           22   he listed a property in the Dominican Republic through www.vrbo.com and was alerted by a letter

           23   dated September 11, 2015 that his personal identifying information and bank account information had

           24   been accessible via an unsecured YapStone URL from approximately July 15, 2014 through August 5,

           25   2014. (Bonnema Compl. ¶¶ 18-28.) The Bonnema complaint asserts claims against YapStone, Inc.,

           26   d/b/a Vacationrentpayment for negligence, violation of the CUCL, breach of implied contract, unjust

           27   enrichment, and violation of the CDBL. (Bonnema Compl ¶¶ 58-97.) The Bonnema Complaint does

           28   not assert claims under the NJCFA or NJDBA, and seeks certification of a nationwide class, and
                                                               2
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            1   California Subclass. An initial case management conference also has been scheduled in Bonnema on

            2   January 15, 2016. No proof of service has yet been filed in the Bonnema case.

            3                                        III.      ARGUMENT

            4   A.       The Court Should Consolidate These Related Cases.

            5            Rule 42(a) of the Federal Rules of Civil Procedure provides that if actions before the Court

            6   involve a common question of law or fact, the Court may:

            7            (1)    join for hearing or trial any or all matters at issue in the actions;

            8            (2)    consolidate the actions; or
            9            (3)    issue any other orders to avoid unnecessary cost or delay.
           10            Consolidation of all related actions that involve common questions of law and fact and allege
           11   the same or similar claims on behalf of the same or similar putative class is appropriate. Courts have
           12   “broad discretion under this rule to consolidate cases pending in the same district,” and will not be
           13   reversed absent clear error. Investors Research Co. v. U.S. District Court for Cent. Dist., 877 F.2d 777
           14   (9th Cir. 1989); see Schwarzer, et al., California Practice Guide: Federal Civil Procedure Before Trial
           15   § 16:151 (Rutter Group 2010). In determining whether to consolidate cases, the court should “weigh
           16   the interest of judicial convenience against the potential for delay, confusion and prejudice.”
           17   Kamakahi v. Am. Soc. for Reprod. Med., No. C 11-01781 SBA, 2012 WL 892163, at *1 (N.D. Cal.
           18   Mar. 14, 2012) (citing Zhu v. UCBH Holdings, Inc., 682 F. Supp. 2d 1049, 1052 (N.D.Cal. 2010)).

           19   Class actions are particularly well suited for consolidation because unification expedites pretrial

           20   proceedings, reduces case duplication, avoids confusion, and minimizes the expenditure of time and

           21   money for all parties involved. See Kamakahi, 2012 WL 892163, at *2 (“The Court finds that

           22   consolidation will serve the interests of efficiency and judicial economy.”); Takeda v. Turbodyne

           23   Technologies, Inc., 67 F. Supp. 2d 1129, 1133 (C.D. Cal. 1999) (“Absent class members will best be

           24   served by consolidation because they will have just one case to monitor as it proceeds through

           25   litigation.”); In re Equity Funding Corp. of Am. Sec. Litig., 416 F. Supp. 161, 176 (C.D. Cal. 1976)

           26   (“[A]rgument and consideration of class action issues has been made considerably easier by the

           27   consolidated complaint, because the court has not had to go through varying and conflicting class

           28   allegations that may have been stated in each separate complaint. . . .”).
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            1          Here, the Actions at issue involve substantially similar factual issues such that consolidation

            2   would serve the interests of judicial economy. Both Actions focus on the data breach which occurred

            3   via an unsecured YapStone URL, which exposed personal identifying information and bank account

            4   information for those who had listed properties, and accepted payments via the YapStone platform.

            5   Each case seeks to hold Defendant liable for said data breach, and center on Defendant’s practices

            6   regarding its data security practices and the timing of the disclosure of the data breach. Both seek

            7   certification of nationwide classes under the same causes of action, while the Koles action further seeks

            8   certification of a New Jersey subclass for violation of parallel New Jersey causes of action. Thus, the
            9   actions focus on common issues of fact and law.
           10          Consolidation will promote judicial economy. Without consolidation of the actions, the parties
           11   will be required to file all pleadings, motions, stipulations, and supporting documents in each case
           12   separately. In turn, the Court will be required to issue responsive orders in each case separately.
           13   Consolidation will streamline case management, discovery, and dispositive motion proceedings.
           14   Accordingly, “[c]onsolidating these cases for all purposes will be the most efficient solution for the
           15   court, and will ease the litigation burden on all parties involved.” Takeda, 67 F. Supp. 2d at 1133.
           16          Consolidation will reduce rather than cause confusion or delay. Absent class members will
           17   benefit from consolidation because they will have only one case to monitor. Similarly, the parties and
           18   the Court will benefit from consolidation by reference to a single set of pleadings, motions, written

           19   discovery, produced documents, and deposition transcripts. Plaintiffs are unaware of any delay or

           20   prejudice which would result from consolidation. None of the Actions has a trial date and both

           21   Actions are currently scheduled for initial conferences on the same date. See In re Oreck Corp. Halo

           22   Vacuum & Air Purifiers Mktg. & Sales Practices Litig., 282 F.R.D. 486, 490 (C.D. Cal. 2012) (“By

           23   contrast, factors that counsel against consolidation, such as differing trial dates or stages of discovery,

           24   are not present here.”) (citing Lewis v. City of Fresno, 2009 WL 1948918, *1 (E.D.Cal. Jul. 6, 2009)).

           25          Accordingly, consolidation of the Actions is appropriate given the common issues of law and

           26   fact, and the simplification of discovery, pretrial motion practice, class certification issues, and other

           27   case management issues.

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                                                                     4
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            1   B.       Appointment of Interim Class Counsel Is Necessary to the Management and Success of

            2            This Litigation.

            3            Federal Rule of Civil Procedure 23(g)(3) provides that a “court may designate interim counsel

            4   to act on behalf of the putative class before determining whether to certify the action as a class action.”

            5   Courts that have construed Rule 23(g)(3) have relied on the Advisory Committee Notes accompanying

            6   the rule to hold that interim counsel should be appointed when necessary to protect the interests of the

            7   putative class. See, e.g., Parkinson v. Hyundai Motor Am., No. CV06-345-AHS-MLG, 2006 WL

            8   2289801, at *2 (C.D. Cal. Aug. 7, 2006) (quoting Fed. R. Civ. P. 23, Advisory Committee Notes
            9   (2003)). Further, the Notes contemplate that “[t]ime may be needed to explore designation of class
           10   counsel under Rule 23(g)” and recognize “that in many cases the need to progress toward the
           11   certification determination may require designation of interim counsel.” Fed. R. Civ. P. 23, Advisory
           12   Committee Notes (2003). In complex matters such as this, one of the key organizational tools a district
           13   court has is to appoint interim class counsel pursuant to Rule 23(g). See Manual for Complex
           14   Litigation (Fourth) §10.22 (2004) (“Complex litigation often involves numerous parties with common
           15   or similar interests but separate counsel. . . . Instituting special procedures for coordination of counsel
           16   early in the litigation will help to avoid these problems.”); Id. § 21.11 (“[A] number of lawyers may
           17   compete for class counsel appointment. In such cases, designation of interim counsel clarifies
           18   responsibility for protecting the interests of the class during precertification activities, such as making

           19   and responding to motions, conducting any necessary discovery, moving for class certification, and

           20   negotiating settlement.”). Appointment of interim lead counsel is appropriate even where as few as

           21   two similar cases are pending. See, e.g., Kamakahi, 2012 WL 892163, at *2 (consolidating two cases

           22   and appointing interim lead counsel); Kaminske v. JP Morgan Chase Bank N.A., No. SACV 09-00918

           23   JVS, 2011 WL 521338, at *1 (C.D. Cal. Jan. 3, 2011) (consolidating three cases and appointing

           24   interim lead counsel).

           25   C.       The Court Should Appoint AW as Interim Lead Class Counsel and, with AW, LLF and

           26            LK to Plaintiffs’ Executive Committee.

           27            The Federal Rules enumerate the following factors that inform designation of lead counsel: “(i)

           28   the work counsel has done in identifying or investigating potential claims in the action; (ii) counsel’s
                                                                   5
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            1   experience in handling class actions, other complex litigation, and the types of claims asserted in the

            2   action; (iii) counsel’s knowledge of the applicable law; and (iv) the resources that counsel will commit

            3   to representing the class.” Fed. R. Civ. P. 23(g)(l)(A); see also Kamakahi, 2012 WL 892163, at *2;

            4   Kaminske, 2011 WL 521338, at *2; Levitte v. Google, Inc., No. C 08-03369 JW, 2009 WL 482252, at

            5   *2 (N.D. Cal. Feb. 25, 2009). The Court may also “consider any other matter pertinent to counsel’s

            6   ability to fairly and adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(l)(B).

            7            The considerations set forth below in detail support the designation of Plaintiffs’ chosen

            8   counsel as interim lead counsel. The proposed interim lead counsel and executive committee will
            9   zealously, efficiently, and competently litigate this matter in the best interests of the members of the
           10   class.
           11            1.     The Work AW, LLF, and LK Already Performed Supports Appointment as
           12                   Interim Class Counsel.
           13            In addition to the extensive pre-filing investigation and carefully crafting the initial class action
           14   complaint over a month ago, Plaintiffs’ counsel have continued to prepare the claims in anticipation of
           15   Defendant’s Answer or Motion to dismiss, which is currently due in Koles on January 18, 2015. (See
           16   Koles Dkt. No. 24.)
           17            2.     AW’s, LLF’s, and LK’s Experience in Handling Class Actions and Other Complex
           18                   Litigation Supports AW’s Appointment As Interim Lead Class Counsel and AW’s,

           19                   LLF’s, and LK’s Appointment to Plaintiffs’ Executive Committee

           20            The AW, LLF, and LK firms are well experienced in class actions and complex litigation of

           21   this nature, and have extensive experience in the prosecution of claims in this case. All three firms

           22   focus their practice on class action litigation, and have collectively represented plaintiffs in hundreds

           23   of class action lawsuits in state and federal courts throughout the country in a variety of fields,

           24   including claims relating to consumer class actions in general, and employment- and privacy-related

           25   claims in particular. AW is located in California, LLF is located in New Jersey, and LK is located in

           26   New York, and all have extensive experience and substantial expertise in representing consumers and

           27   employees in class actions pursuant to state and federal law. See generally, Wolfson Decl.; Galpern

           28   Decl.; Kulesa Decl.
                                                                       6
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            1                  a.      Ahdoot & Wolfson, PC

            2          As set forth in the Declaration of Tina Wolfson, submitted contemporaneously herewith,

            3   Ahdoot & Wolfson, PC (“AW”) is a top tier law firm specializing in advocating consumer and

            4   employee rights. AW vigorously litigates against large corporations to vindicate the rights of millions

            5   of consumers or employees in protracted, complex litigation, to successful results.

            6          AW is an eight-attorney firm founded in 1998. The vast majority of its practice is plaintiffs’

            7   class action litigation. As a founding member, Wolfson has been appointed class counsel in numerous

            8   class actions, and has obtained extensive experience in prosecuting complex class action and
            9   representative lawsuits. Her vast complex and class action litigation experience is outlined in her
           10   curriculum vitae, which is attached to her Declaration as Exhibit A. (Wolfson Decl. ¶ 2.) For the sake
           11   of brevity, only her privacy-related work is detailed below.
           12          The law of electronic privacy is evolving quickly and the attorneys at AW are seasoned
           13   practitioners in this area who not only know the law, but have also helped shape it. Tina Wolfson and
           14   Robert Ahdoot were among the first group of attorneys who successfully litigated the privacy rights of
           15   millions of consumers against major financial institutions. The plaintiffs alleged that the defendants
           16   used their personal information to compile detailed financial data to use for internal marketing
           17   purposes and to sell to third party telemarketers, without their consent. As lead counsel in these privacy
           18   class actions, AW brought the consumer claims to successful conclusion on a class-wide basis,

           19   conferring millions of dollars of benefits to consumers. The business practices that her clients

           20   challenged in those cases later became the subject of Graham Leach Bliley Act regulation. These

           21   consumer privacy class actions successfully prosecuted, without limitation, Chase Manhattan Bank,

           22   American Express, MBNA America Bank, Discover Bank, FleetBoston, and Washington Mutual

           23   Bank. Since then, AW has prosecuted numerous class actions involving consumer privacy rights,

           24   including data breach class actions involving medical privacy rights, gaining invaluable experience

           25   critically important to prosecuting this case.

           26          AW’s attorneys also have helped shape data breach class action law within the past year. For

           27   instance, in Remijas v. Neiman Marcus Group, LLC, 794 F.3d 688 (7th Cir. 2015), AW successfully

           28   appealed a trial court order granting a motion to dismiss based on lack of Article III standing. The
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            1   Seventh Circuit’s groundbreaking opinion was the first appellate decision to consider the issue of

            2   Article III standing in data breach cases since, and in light of, the Supreme Court’s decision in Clapper

            3   v. Amnesty Intern. USA, 133 S. Ct. 1138 (2013). The defense bar has aggressively advocated that

            4   Clapper set a more rigorous standard for Article III standing inquiries than previously existed and that,

            5   in light of that decision, data breach cases generally lack standing unless the plaintiffs could show that

            6   they suffered unreimbursed fraudulent charges. As a result of AW’s successful appeal, the Seventh

            7   Circuit adopted the plaintiffs’ reasoning, rejected this narrow view of Clapper, and established that

            8   data breach victims have standing to pursue claims based on the increased risk of identity theft and
            9   fraud, even before that theft or fraud materializes. Since that decision was handed down, numerous
           10   courts have followed its reasoning, and consumers injured in such breaches now have legal recourse
           11   that many courts previously denied to them.
           12          AW also was instrumental to the consumer plaintiffs’ efforts in the Target data breach
           13   litigation, where AW contributed considerable effort to vetting hundreds of potential class
           14   representatives in a streamlined and efficient manner, responding to discovery requests and defending
           15   depositions, legal research, and the consolidated complaint, among other projects. In re: Target
           16   Corporation Customer Data Security Breach Litigation, Case No. 14-md-2522 (D. Minn.). Ms.
           17   Wolfson also currently serves, by court appointment, on the Consumer Plaintiffs’ Steering Committee
           18   in The Home Depot, Inc., Customer Data Security Breach Litigation, Case No. 14-md-2583 (N.D.

           19   Ga.). She is also serving, by court appointment, on the Plaintiffs’ Executive Leadership Committee in

           20   the current MDL action entitled In re: Premera Blue Cross Customer Data Security Breach Litigation,

           21   Case No. 3:15-md-02633-SI (D. Or.).

           22          AW also has prosecuted medical privacy class actions on behalf of victims of data breaches

           23   under the California Confidentiality of Medical Information Act. For example, AW was a member of

           24   the Executive Committee in the consolidated actions entitled Whitaker v. Health Net, Case No. 2:11-

           25   cv-00910-KJM (E.D. Cal.), and in the Sutter Medical Information Cases, Case No. JCCP 4698 (Cal.

           26   Super. Ct., Sacramento Cty.). AW also currently represents plaintiffs in cases arising out of data

           27   breaches affecting patients of the U.C.L.A. healthcare system. A.Y. v. Regents of the Univ. of Cal.,

           28   Case No. BC590344 (Cal. Super. Ct., Los Angeles Cty.) (and related actions).
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            1          Recognized for her class action experience, Ms. Wolfson is often invited to chair or lecture at

            2   seminars on issues pertaining to class action litigation and has been published on topics in this area.

            3   She was a co-chair and panelist at a CLE program co-sponsored by the Federal Litigation Section of

            4   the Federal Bar Association and the Northern District of California on November 12, 2015 at the

            5   Ceremonial Courthouse, addressing the latest developments in class action practice, featuring the Hon.

            6   Jon S. Tigar and the Hon. Laurel Beeler and approximately 200 experienced class action attorneys

            7   attending.

            8          Recognized for her privacy litigation experience, Ms. Wolfson has been invited to lecture about
            9   data breach litigation issues. She spoke at the HarrisMartin Data Breach Conferences in March 2014
           10   and 2015 concerning the Neiman Marcus and Anthem data breaches, respectively. Further, Ms.
           11   Wolfson was recently selected to serve as a member of the Privacy Law Subcommittee of the State Bar
           12   of California’s Antitrust and Unfair Competition Law Section.
           13          Overall, AW is fully committed to this action. AW has the necessary financial resources and
           14   legal experience to prosecute this action to a successful conclusion. AW intends to dedicate substantial
           15   resources to this action and work collaboratively and cooperatively with defense counsel, as well as
           16   any other plaintiffs’ firms, including Plaintiff Bonnema’s counsel. The collective experience of AW
           17   will allow it to ably serve as interim lead class counsel in this action. (Wolfson Decl. ¶¶ 4-7.)
           18                  b.      Locks Law Firm

           19          As set forth in the Declaration of Michael A. Galpern, Locks Law Firm (“LLF”) specializes in

           20   complex and class action litigation on the plaintiff side, including consumer class actions, wage and

           21   hour class and collective actions, mass tort pharmaceutical litigation, toxic tort litigation, medical

           22   malpractice and catastrophic personal injury cases. LLF is one of the most recognized plaintiff

           23   litigation firms in the United States and regularly litigates consumer fraud and other complex class and

           24   mass tort actions, many of which have resulted in substantial recoveries for the represented classes.

           25   We have been appointed as lead or co-lead counsel in some of the largest consumer class actions

           26   throughout class action jurisprudence history. Gene Locks, the founding partner of the firm, pioneered

           27   asbestos personal injury litigation in the 1970s, eventually representing more than 16,000 person

           28   injury victims in more than 20 different states. Mr. Locks was appointed co-lead counsel in the
                                                                    9
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            1   “Asbestos Personal Injury Litigation” MDL 185 for many years. Mr. Locks gained a national

            2   reputation for his proven ability to reorganized multi-million dollar former asbestos companies, which

            3   have then paid out hundreds of millions of dollars in benefits to hundreds of thousands of asbestos

            4   victims.

            5          Because of the firm’s litigation experience, negotiating reputation and ability to persevere and

            6   sustain lengthy litigation, Mr. Locks was appointed by the Honorable Jack B. Weinstein of the Eastern

            7   District of New York to the Management Committee of the Agent Orange Litigation, MDL 381 and

            8   was co-chair of the negotiating committee which resulted in a $180 million settlement, the largest
            9   class action settlement of personal injury class of victims at that time.

           10          In the late 1990s, Mr. Locks was co-lead negotiator and on the PSC in the In re: Diet Drugs

           11   (Phentermine, Fenfluramine, Dexfenfluramine) Products Liability Litigation, MDL No. 1203, which

           12   culminated in a $3.75 billion settlement. LLF partner, Michael A. Galpern, was appointed to the

           13   Plaintiff Steering Committees of multiple other pharmaceutical MDLs, including for Propecia (In re:

           14   Propecia (Finasteride) Products Liability Litigation, MDL No. 2331), Bextra and Celbrex (In Re:

           15   Bextra and Celebrex Marketing Sales Practices and Product Liability Litigation, MDL No. 1699).

           16   LLF was also appointed co-lead counsel in In re: Staples, Inc., Wage and Hour Employment Practices

           17   Litigation, MDL No. 2025. LLF partner Andrew P. Bell worked extensively with Mr. Locks and Mr.

           18   Galpern in the Diet Drugs MDL and in the Staples MDL. In addition, Mr. Bell has been appointed

           19   class counsel or co-class counsel in numerous consumer fraud class actions in both state and federal

           20   courts throughout the country. See C.V. of Andrew P. Bell, attached hereto. Finally, LLF associate

           21   James A. Barry is a former law clerk for New Jersey Supreme Court Justice Faustino J. Fernandez-

           22   Vina, has extensive experience in litigation, has been appointed as class counsel in Caprarola v. Wells

           23   Fargo, and has argued as amicus curiae before the New Jersey Supreme Court regarding the

           24   enforceability of arbitration clauses contained in student agreements between students and a for-profit

           25   school in Morgan v. Sanford Brown Institute, Docket No.: A-31-14.

           26          Most recently, LLF was also appointed Co-Class Counsel and to the PSC of the In Re:

           27   National Football League Players’ Concussion Injury Litigation, MDL No. 2323, which involved

           28   complex issues of federal preemption of state tort laws, and which culminated in a $765 million
                                                                    10
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            1   settlement, which was later “uncapped” to provide compensation greater than that amount for claims

            2   for the next 65 years.
                        In short, LLF is well qualified to serve on Plaintiffs’ Executive Committee in these matters
            3

            4   and has committed the necessary staffing and financial resources to prosecute this action to a

            5   successful conclusion. Along with AW and LK, LLF will work cooperatively with defense counsel

            6   to most efficiently and effectively bring this case to judgment.
            7
                               c.      Levi & Korsinsky, LLP
            8
                       L&K is one of the nation’s leading plaintiffs’ law firms with over eighty years of combined
            9
                partner experience litigating complex securities and consumer class actions in state and federal courts
           10
                throughout the country. The firm has a long track record of litigating high-stakes, resource-intensive
           11

           12   cases and consistently achieving results for our clients. Headquartered in New York City with offices

           13   in Connecticut, California, Washington, DC and New Jersey, Levi & Korsinsky LLP zealously
           14   litigates each case with integrity, determination and professionalism.
           15
                       The firm has routinely been appointed lead counsel in significant multi-million dollar securities
           16
                class actions in courts across the country. For example, we were selected from a crowded field as co-
           17
                lead counsel in E*TRADE Financial Corp. Sec. Litig., No. 07-cv-8538 (S.D.N.Y. 2007), a landmark
           18

           19   securities fraud class action that arose out of the mortgage crisis. Our successful prosecution of the

           20   case resulted in a $79 million recovery for the shareholder class.

           21          Levi & Korsinsky protects consumers by holding corporations accountable for defective
           22   products, false and misleading advertising, overcharging, data breaches and unfair or deceptive
           23
                business practices. The firm’s litigation and class action expertise combined with an in-depth
           24
                understanding of federal and state laws enable it to fight effectively for consumers who purchased
           25
                defective products.
           26

           27          The firm has recently been appointed as Co-Lead Counsel in n re NJOY, Inc.

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                Consumer Class Action Litigation, 14-cv-00428-MMM (JEM) (C.D. Cal.) and Klein v. TD
            1

            2   Ameritrade Holding Corporation, 8:14cv396 JFB (TDT) (D. Neb) among others.

            3   Moreover, L&K is well qualified to serve on Plaintiffs’ Executive Committee in this action

            4   and has committed the necessary staffing and financial resources to prosecute this action to
            5
                a successful conclusion. Along with AW and LLF, L&K will work cooperatively with
            6
                defense counsel to most efficiently and effectively resolve this litigation.
            7

            8          3.      AW’s, LLF’s, and LK’s Knowledge of the Applicable Law.

            9          Proposed interim class counsel and executive committee have researched the law applicable to

           10   data breach claims at issue in these Actions extensively, and are best prepared to oppose Defendant’s

           11   anticipated motion to dismiss those claims. Counsel’s knowledge of the applicable law is perhaps best

           12   demonstrated by AW’s most recent success in arguing plaintiff’s case before the Seventh Circuit in

           13   Remijas v. Neiman Marcus, 794 F.3d 688 (7th Cir. 2015).

           14          4.      Resources that AW, LLF, and LK Have and Will Commit to Representing the

           15                  Class Support AW’s Designation as Interim Lead Class Counsel and All Three

           16                  Firms as Executive Committee Members.

           17          Proposed lead counsel and executive committee have already demonstrated the will and ability

           18   to commit the necessary resources to assure a strong and well-supported case on behalf of the class

           19   members. Already, these firms have thoroughly investigated, developed, and gathered evidence of

           20   Plaintiffs’ claims against Defendant. Going forward, these firms will continue to staff this case with

           21   experienced lawyers to prepare pleadings, write memoranda, conduct discovery, and assist in trial

           22   preparation.

           23          As interim class counsel and executive committee, the proposed firms will continue to commit

           24   the same resources and effort to this case as they have committed to their other, successful litigations.

           25   These firms’ many years of successful litigation, described above and more fully described in the

           26   accompanying declarations, demonstrate a proven track record of bringing to the table all resources

           27   necessary to effectively litigate the claims in this matter. Combined, these firms will bring more than

           28   enough resources to zealously advocate the interests of the putative plaintiff class. AW, LLF, and LK
                                                                    12
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            1   have agreed to make this case a major focus of their litigation efforts, and are committed to litigating it

            2   successfully on behalf of the putative class. Lastly, while AW, LLF, and LK detail the experience of

            3   the eleven attorneys they expect to be most involved in the litigation, it should be stressed that every

            4   effort will be made to efficiently staff the litigation to avoid duplication of efforts.

            5           5.      Proposed Lead Counsel and Executive Committee Have Agreed On A Streamlined

            6                   Legal Approach To These Cases And A Protocol To Ensure Efficiency.

            7           AW, LLF, and LK have thought through a streamlined legal strategy, as well as an efficient

            8   approach to the scheduling in this case. Under this approach, the claims of the putative class members
            9   would be pursued through traditional common law theories, and the goal is to recover (1) out-of-pocket
           10   expenses relating to actual identity theft, (2) the cost associated with protecting oneself against future
           11   identity theft, and (3) “overpayment” for the data protection services that the class paid for, and that
           12   Defendants promised, but never delivered. See Remijas, supra; see also Resnick v. AvMed, Inc., 693
           13   F.3d 1317, 1322, 1328 (11th Cir. 2012) (re: identity theft and overpayment, respectively).
           14           Further, Proposed Lead Counsel and Plaintiffs’ Executive Committee are fully aware of the
           15   Court’s expectation that they will prosecute the case efficiently and without duplication. To that end,
           16   they have agreed upon a comprehensive work assignment and billing protocol to ensure efficiency,
           17   which includes, without limitation, the following elements:
           18
                    •   AW, LLF, and LK have agreed not to seek compensation for time spent negotiating plaintiffs’
           19           leadership in this case;

           20       •   All counsel will submit uniform monthly billing reports to lead counsel for auditing.
           21       •   Proposed Lead Counsel each have kept contemporaneous time records, will continue to do so,
           22           and will instruct all Plaintiffs’ counsel to do so.

           23       •   Proposed Lead Counsel shall bill in increments no larger than a tenth of an hour. Proposed
                        Lead Counsel will instruct all Plaintiffs’ counsel to follow similar practices.
           24
                    •   No work will be considered billable unless specifically assigned by Proposed Lead Counsel.
           25

           26       •   No more than two attorneys will appear for status hearings before the Court. For substantive
                        hearings, such as hearings on Motion to Dismiss, Class Certification, Summary Judgment, etc.,
           27           Proposed Lead Counsel will use their discretion to staff the hearing efficiently and have only as
                        many attorneys as truly necessary appear.
           28
                                                                      13
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            1
                   •   Proposed Lead Counsel will staff the case efficiently on an as needed bases, with staff of
            2          appropriate seniority, skill set and expertise.

            3      •   Each of the Proposed Lead Counsel will limit his or her firm to no more than three attorneys to
                       bill on the case, unless all Proposed Lead Counsel agree that circumstances warrant higher
            4          levels of staffing.
            5
                   •   Unless otherwise authorized by Proposed Lead Counsel, Plaintiffs’ counsel shall send no more
            6          than two attorneys and one paraprofessional to any deposition. When possible, counsel shall
                       limit attendance to no more than one attorney.
            7
                   •   Proposed Lead Counsel shall only seek reimbursement for economy or coach-class airfare for
            8
                       travel, and will make reasonable arrangements for lodging. Proposed Lead Counsel shall seek
            9          reimbursement only for reasonable accommodations, not to exceed $450 per night, plus tax,
                       and per diem meal expenses will not exceed $120 per person.
           10
                   •   Proposed Lead Counsel shall not seek reimbursement for expenses or costs incurred as part of
           11          normal overhead costs for running a law firm.
           12

           13                                        IV.       CONCLUSION
           14          Based on the foregoing, Plaintiffs Jonathan Koles and Christopher Bonnema respectfully
           15   request that the Court consolidate these Actions, appoint the law firm of Ahdoot & Wolfson, PC as
           16   interim lead class counsel, Ahdoot & Wolfson, PC, Locks Law Firm, LLC and Levi & Korsinsky, LLP
           17   to Plaintiffs’ Executive Committee, and order that a master consolidated complaint be filed by interim
           18   lead class counsel, to be named In Re YapStone Data Breach, Case No. 4:15-cv-04489-JSW.
           19

           20                                                Respectfully submitted,
           21
                Dated: December 29, 2015                     AHDOOT & WOLFSON, PC
           22

           23

           24                                                  /s/ Tina Wolfson
                                                             Tina Wolfson
           25                                                Robert Ahdoot
                                                             Theodore W. Maya
           26                                                Bradley K. King

           27
                                                             LOCKS LAW FIRM, LLC
           28
                                                                  14
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            1

            2                                                 __/s/ Michael A. Galpern______________
                                                              Michael A. Galpern
            3                                                 Andrew P. Bell
                                                              James A. Barry
            4
                                                              Attorneys for Plaintiff Jonathan Koles
            5

            6                                                 LEVI & KORSINSKY, LLP

            7

            8                                                 __/s/ Nancy Kulesa______________
                                                              Shannon L. Hopkins
            9                                                 Shane Rowley
                                                              Nancy Kulesa
           10                                                 Andrea Clisura
           11                                                 Attorneys for Plaintiff Christopher Bonnema
           12

           13                                        ATTESTATION OF FILER

           14
                       Pursuant to L.R. 5-1(i)(3), the undersigned hereby attests that all signatories above have
           15
                concurred in the filing of this motion.
           16

           17
                                                             /s/ Tina Wolfson
           18
                                                            Tina Wolfson
           19

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            1                                       CERTIFICATE OF SERVICE

            2          I, Tina Wolfson, counsel for Plaintiffs Jonathan Koles, hereby certify that on December 29,

            3   2015, I caused to be filed a true and correct copy of the foregoing PLAINTIFF’S MOTION TO

            4   CONSOLIDATE AND APPOINT INTERIM LEAD CLASS COUNSEL AND PLAINTIFFS’

            5   EXECUTIVE COMMITTEE; DECLARATION OF TINA WOLFSON; DECLARATION OF

            6   MICHAEL A. GALPERN; DECLARATION OF NANCY KULESA; [PROPOSED] ORDER

            7   electronically using the Court’s electronic case filing (CM/ECF) system, which automatically

            8   generated and sent a notice of electronic filing to the e-mail addresses of all counsel of record.
            9

           10                                                  /s/ Tina Wolfson
                                                              Tina Wolfson
           11

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